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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DAVID LOZEAU,

       Plaintiff,                                        Case No.: 1:23-cv-14845

v.                                                       Judge Lindsay C. Jenkins

THE PARTNERSHIPS AND UNINCORPORATED                      Magistrate Judge Keri L. Holleb Hotaling
ASSOCIATIONS IDENTIFIED ON SCHEDULE
“A”,

       Defendants.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                 DEFENDANT
                96                                  THLeeStore
                 3                                     Xinhui
                 6                                   Dreamkai
                89                                    Sunkoby
               111                            yanwubaihuoyouxiangongsi
                44                           Knowledge Metal Sign Store
                83                                    ALAZA
                75                                     wmeiri
                 5                                   UMIRIKO
                67                         FULUHUAPIN(Holiday Promotion)
                68                                     FRMG
                70                                     HYFA
                71                                     KEIGE
               118                                      Jgjgb
               123                                    Kosidadi
               109                                  DOMENRY
               116                             Hekben(7-15 days arrive)
               120                                     Tegax
               124                                    TuTuJD
                86                                DAOHUYHINH
                91                                 COMFORGO
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         122                          CRYSTAL TRENDING
          73                    YASTER INTERNATIONAL GROUP
          84                               L-SPOUTTO
           8                     Hessimy (
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on February 28, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
